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             Exhibit 2
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

 ALLIANCE LAUNDRY SYSTEMS, LLC,

                     Plaintiff,

 v.
                                                                 Case No.: 23-22130
 TRUDY ADAMS,
 JOHN “CLAY” WILLIAMS and
 AUTARKIC HOLDINGS, INC. D/B/A
 LAUNDRYLUX

                     Defendants.


      AMENDED EXPERT DECLARATION OF MARK LANTERMAN

       1.    My name is Mark Lanterman. I am the Chief Technology Officer

of Computer Forensic Services (“CFS”) located in Minneapolis, Minnesota.1

CFS and I have been retained as an expert witness in the above-captioned

action by Husch Blackwell, LLP on behalf of its client Alliance Laundry

Systems (“Alliance”). CFS was asked to analyze laptop computers that were




1 On June 21, 2024, I offered an Expert Report in this action, which is incorporated by

reference. This Amended Expert Report is largely the same in substance as my June 21,
2024 Expert Report, but includes additional analysis of materials that have been provided
to me since that time.



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assigned to Defendants Trudy Adams and John (Clay) Williams by Alliance

and were intended for their respective job responsibilities.

        2.     In summary, and consistent with the opinions set forth in greater

detail in this declaration, there is evidence that Defendants Adams and

Williams exfiltrated Alliance data in two ways. First, both Defendants

Adams and Williams emailed Alliance documents to non-Alliance email

addresses (e.g., personal email accounts). Second, there is evidence to

indicate that portable, external USB drives were attached to the laptops. On

Defendant       Williams’   laptop,   Alliance   documents      and    files   were

affirmatively copied to an external USB drive.

   I.        Expert background & qualifications

        3.     Attached as Exhibit A is my CV, a list of cases in which I have

testified in the last four years, as well as a list of articles I have published

over the past 10 years. CFS charges between $425 to $625 per hour for my

work, depending upon the requested task. Neither my compensation nor

CFS’s compensation is dependent upon the substance of my opinions nor

outcome of this litigation.

        4.     Our firm specializes in the analysis of digital evidence in civil

and criminal litigation. I have over 35 years of experience in computer



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forensics and cybersecurity. Prior to joining CFS, I was a sworn investigator

for the United States Secret Service Electronic Crimes Task Force and acted

as its senior computer forensic analyst.

      5.    I am certified by the United States Department of Homeland

Security as a “Seized Computer Evidence Recovery Specialist,” as well as

certified in computer forensics by the National White-Collar Crime Center.

Both federal and state courts have appointed me as a neutral computer

forensic analyst or special master.

      6.    I graduated from Upsala College with both a Bachelor of Science

and a Master’s degree in computer science. I completed my post graduate

work in cybersecurity at Harvard University.

      7.    I have previously served as adjunct faculty of computer science

for the University of Minnesota Technological Leadership Institute’s Master

of Science and Security Technologies program (MSST). I am a faculty

member at the University of St. Thomas School of Law in Minnesota, and for

the National Judicial College in Reno, Nevada. I have instructed members of

the federal judiciary through the Federal Judicial Center in Washington, D.C.

      8.    I am a member of Working Groups 1 and 11 for the Sedona

Conference, which is an institute dedicated to the advanced study of law. I



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serve on the Sedona Conference’s Steering Committee on Artificial

Intelligence and the Law.

     9.     I am currently appointed to the Arizona Supreme Court’s

Steering Committee on Artificial Intelligence and the Courts.

     10.    I have previously provided training or delivered keynote

addresses for the United States Supreme Court; the Eleventh Circuit Federal

Judicial Conference; the Eighth Circuit Federal Judicial Conference; the

Southern District of Georgia; the Western District of Tennessee; and several

state judicial conferences. I delivered the keynote address at the Chief

Justices’ Conference in Newport, Rhode Island and at Georgetown Law

School’s advanced e-discovery conference.

     11.    I was appointed by the Minnesota Supreme Court to serve the

maximum 6-year term as a member of Minnesota’s Lawyers Professional

Responsibility Board (“LPRB”).

     12.    I am a co-author of the Minnesota State Bar’s e-Discovery

Deskbook, and I also write monthly articles for Minnesota Bench & Bar

magazine.

     13.    CFS holds a corporate private detective license issued by the

State of Minnesota Board of Private Detective and Protective Agent Services



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(License No. 2341).

        14.     CFS was awarded a Multiple Award Schedule contract (contract

#47QTCA22D004L) for the 54151HACS (highly adaptive cybersecurity

services) SIN by the General Services Administration (GSA). GSA awarded

CFS the contract after a rigorous inspection and technical competence

evaluation of knowledge, abilities, competency, policies, and procedures.

        15.     CFS also serves as the digital-crime lab for dozens of law

enforcement agencies in Minnesota, including the Hennepin County

Sheriff’s Office (the county that encompasses Minneapolis); as well as the

Metropolitan Airports Commission, also known as the Minneapolis/Saint

Paul International Airport. I am a primary point-of-contact for servicing

these contracts on behalf of CFS.

  II.         Materials considered

        16.     I am generally familiar with the factual circumstances of this

action, having reviewed the complaint. (See Dkt. 1).

        17.     On March 21, 2024, Alliance submitted two (2) laptop

computers to my office for preservation and analysis. I understand that

these laptops were assigned to Defendants Adams and Williams by




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Alliance, for use in connection with Defendants’ job responsibilities before

they separated from Alliance.

      18.   Table 1 below summarizes the identifying information

associated with these laptops, including when the laptops were put into

service/set up for use by Defendants Adams and Williams.

Description         Make/Model          User Profile        Serial Number
Trudy Adams’        Lenovo              T.Adams             PF-38F6RE
Alliance-issued     ThinkPad E15        (in-service:
laptop              Gen 2 laptop        April 15, 2022)
Clay Williams’      Lenovo              Clay                PF-3JTQV7
Alliance-issued     ThinkPad E15        (in-service:
laptop              Gen 2 laptop        July 21, 2022)
                                    Table 1

      19.   The laptops were encrypted using Microsoft Bitlocker. Bitlocker

is a popular encryption software that is built-in to the Microsoft Windows

operating system and is designed to protect the integrity of the data. I

coordinated with Alliance’s IT team to obtain the information necessary to

decrypt the laptops and access their data for the purpose of preserving and

analyzing them.

      20.   After obtaining the information necessary to decrypt the

content of the laptops, I created a forensic copy of the laptops’ hard drives,

preserving their data and operating system. The preservation process was




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necessary to conduct a complete examination of the laptops and permitted

me to assemble a timeline of user activities.

      21.     In addition to the laptop computers described above, I have

also received and reviewed certain Alliance, security-related policy

documents. Those documents are:

            a. Alliance Employee Handbook (See ALSD00000200);

            b. Alliance IT Acceptable Use Policy, (See ALSD00000237);

            c. Alliance Code of Business Conduct, (See ALSD00000931).

      22.     Additionally, I have considered certain documents that were

produced by the Defendants in this action during discovery, that are

identified by Bates label designations:

            a. DEF00307-316 (representing a July 14, 2023 email from Adams
               to Williams);

            b. DEF00465-470 (representing an email forwarded by Williams to
               Adams).

      23.     On December 13, 2024, Defendant Williams’ counsel provided a

forensic image (copy) of a USB drive, that was created by Defendants’

vendor, Berkeley Research Group (“BRG”). The forensic image represents

data from a SanDisk Cruzer Glide USB drive, bearing the serial number

03000412082922191623. As explained infra, this is the same USB drive that




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was attached to Defendant Williams’ Alliance-issued laptop shortly before

his separation.

      24.     Moreover, in December 2024, I received the following selections

of Adams’ and Williams’ discovery responses:

            a. Def.’s Objections and Responses to Alliance’s Second Set of

              Requests for Production to Trudy Adams, dated June 24, 2024,

              and as amended on October 8, 2024;

            b. Def.’s Objections and Responses to Alliance’s Second Set of

              Requests for Production to John “Clay” Williams, dated June

              24, 2024, and as amended on October 8, 2024;

      25.     Finally, I have also received and reviewed the rough deposition

transcript of Defendant Williams’ December 20, 2024 deposition.

   III.     Opinion Summary

      26.     As noted above, Defendants Adams and Williams both sent

emails to personal email accounts, with Alliance file attachments, and

attached USB drives to their Alliance-issued laptops shortly before their

separation from Alliance. (See supra. ¶ 2).

      27.     With respect to Defendant Adams, there is evidence that several

emails (with file attachments) were sent between January 5, 2023 and May



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19, 2023 from Adams’ Alliance email account to a non-Alliance email

account (trudy [at] blueeggconsult [dot] com). Moreover, on May 18, 2023

(the day prior to Defendant Adams’ separation from Alliance), a USB drive

was attached to her Alliance-issued laptop. External USB drives may be used

to copy files.

      28.     With respect to Defendant Williams, thousands of files from his

Alliance-issued laptop were copied to a removable USB data storage device,

two days before his separation from Alliance. Additionally, Defendant

Williams emailed Alliance files and documents to his personal email address

(jclaywilliams1 [at] gmail [dot] com).

   IV.      Defendant Adams emailed Alliance documents to a non-
            Alliance email account.

      29.     I understand that Defendant Adams separated from Alliance

on or about May 19, 2023.2 (See Compl. ¶ 13). I have determined, based on

emails that are stored on Defendant Adams’ Alliance-issued laptop, that

Defendant Adams sent Alliance information to a non-Alliance email

address (“trudy [at] blueeggconsult [dot] com”). (See also Compl. ¶ 21).




2 On January 13, 2023, Adams received an email from LaundryLux with a file called

“Trudy Adams ASM Job Offer.pdf.” The date on the face of the document is January 5,
2023.


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      30.    Microsoft Outlook is installed on Adams’ Alliance-issued

laptop. Outlook is an application (program) that is used to, among other

things, send, receive, and retrieve emails and other related information

(like calendars and contacts). When Outlook is installed on a computer and

connected to an email account, Outlook will save emails in specific

container files. These container files are called “OSTs” and “PSTs.”3 I have

identified an OST file associated with data from Adams’ Alliance email

accounts.

      31.    Based on the content of these email container files, between

January 5, 2023 and May 19, 2023, Adams sent or received at least 37 emails

from her Alliance-issued email account to trudy [at] blueeggconsult [dot]

com. The majority of these emails had one or more file attachments.

      32.    I note that of these emails, 18 emails were deleted from Adams’

Alliance email account.

      33.    I have previously provided a copy of these emails to Alliance’s

counsel. These emails are incorporated by reference. Moreover, I have


3 OST is an acronym for “offline storage table” and is used by Outlook as a container for

emails, and other related data. Such files’ primary purpose is to allow offline access and
synchronization of email data. Similarly, PST is an acronym for “personal storage
table.” Like OST files, PST files are designed to store data from email accounts
connected to Outlook.



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attached as Exhibit B to this declaration, a listing of the emails, including

the names of specific file attachments.

       34.    As an example, and as may be observed in Exhibit B, there is a

deleted email dated March 27, 2023 with the subject line “All” that was sent

from Adams’ Alliance email account to the “@blueeggconsult” email

address. The email contained a file attachment called “All Contacts-2023-

03-27-20-10-23.xlsx.” This document is a spreadsheet listing of contact and

account information for 1,234 contacts and was saved to Adams’ Alliance-

issued laptop on March 27, 2023 prior to having been sent. This file is

consistent with having been exported from Alliance’s client record

management system.4

       35.    As another example, on May 18, 2023 (the day prior to Adams’

separation from Alliance), another deleted email with the subject line “FW:

CORRECTED Quote, Drawings, Bulkhead Quote, Trough - 9410

University Drawing” was sent from Adams’ Alliance email account to the

“@blueeggconsult.com” account. This email contains four (4) file

attachments, which appear to constitute drawings, project information and



4 Similarly, on April 20, 2023, a substantially similar file called “All Contacts-2023-04-20-

11-43-38.xlsx,” containing 1,271 contacts was emailed from Adams’ Alliance email
account to the “@blueeggconsult” account.


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cost quotes (dated February 10, 2023) for a specific project/customer of

Alliance.5

        36.     I have not been provided access to the content of the email

account to which the emails listed in Exhibit B were sent (“trudy [at]

blueeggconsult [dot] com”). As of the date of the Amended Expert Report,

I have not been provided access to this account nor its contents. Therefore, I

have no basis to determine the full scope of Alliance files that were

transmitted to or from that account.

   V.         Defendant Adams attached a USB drive to her Alliance laptop
              on May 18, 2023.

        37.     After preserving the device’s data, I analyzed the laptop for

activity consistent with the access or copying of files to sources extrinsic to

the laptop (e.g., USB data storage devices).

        38.     When USB drives are attached to a computer, the Windows

operating system records: 1) the time a device was attached or plugged in,

and, if available, 2) the make/model of the device attached, and 3) its serial

number. Windows records this information so that if/when the device is

subsequently attached, the device is more quickly recognized. Moreover, it



5 I note that I reasonably believe that this is a contact or customer of Alliance because

the quote is written on Alliance letterhead.


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is important to understand the Windows operating system, generally, does

not keep a record or log of all files stored on an external USB data storage

device when the device is simply connected to a computer.

      39.    Here, I have determined that the day prior to her separation

from Alliance, on May 18, 2023 at approximately 5:48 PM (Central), Adams

attached a SanDisk Cruzer USB drive to her Alliance-issued laptop. Based

on the information available from Adams’ Alliance-issued laptop, there is

not sufficient information to determine whether and what files were copied

to it at that time.

      40.    I have not been provided with access to this USB drive.

Alliance requested Ms. Adams to produce all electronic storage devices

(including USB drives and all other external storage devices) she used to

copy or download Alliance data, information, documents or

communications. (See Alliance’s Second Set of Requests for Production to

Trudy Adams, ¶ 54, dated May 24, 2024 “RFP NO. 54”). Ms. Adams

claimed that she did not have any devices responsive to Alliance’s

discovery requests. (See Def.’s Objections and Responses to Alliance’s

Second Set of Requests for Production to Trudy Adams, dated June 24,

2024, and as amended on October 8, 2024.) For this reason, I am unable to



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determine whether and what files were copied to it on May 18, 2023 from

Alliance.

   VI.      Defendant Williams sent Alliance files to a personal email
            account.

      41.     I understand that Defendant Williams separated from Alliance

on July 13, 2023—approximately two months after Defendant Adams.

      42.     Like Defendant Adams, Defendant Williams’ Alliance-issued

laptop also contains email data, indicating that Williams sent emails from

his Alliance email account, and containing attachments, to a personal email

address.

      43.     Table 2 below is intended to summarize information about

these sent emails. I note that all of the emails listed in Table 2 were deleted

and sent to the email address jclaywilliams1@gmail.com.




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      44.    A complete listing of these emails, including the names of

attached files, is incorporated at Exhibit C to this declaration.




      46.    I understand that Defendant Williams’ explained that he had

regularly emailed Alliance documents to his personal email account for the

purpose of printing them at his home. (See Williams Rough Depo. 79:2-10).




6 I note that this email was later forwarded by Williams to Adams’ LaundryLux email

address. (See DEF000465).


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It is not clear to me why such emails (and the documents attached to them)

would have to be 1) sent to Mr. Williams’ personal email account, and 2)

printed using his home printer. Indeed, such documents may have been

printed directly from his Alliance computer without the need to transmit

them outside of Alliance’s environment.

   VII. Defendant Williams copied files from his Alliance laptop to a
        USB drive.

      47.    On July 10, 2023 at approximately 10:32 AM (Central), Williams

accessed his Google email account using a web browser (jclaywilliams1 [at]

gmail [dot] com). After accessing this email account, Williams reviewed the

content of an email bearing the subject line “FW: Trudy List.” Because the

email was accessed using a web browser (rather than an email application

like Microsoft Outlook), the body of the email, the identity of who/what

address sent the email, any attachments, and the dates that it was sent are

not available from Williams’ Alliance-issued laptop.7

      48.    At 12:30:35 PM (Central) on July 10, 2023, about two hours after

the “FW: Trudy List” email was accessed, a USB drive was attached to



7 Alliance requested the “Trudy List” email from both Mr. Williams and Ms. Adams,

but neither have produced it as of today’s date. (See Alliance’s Second Set of Requests
for Production to Trudy Adams and John “Clay” Williams dated May 24, 2024, ¶¶ 55
and 47, respectively).


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Williams’ Alliance-issued laptop.

      49.   As noted above, Windows records information sufficient to

identify when USB drives are attached to a computer. (See supra. ¶ 34).

Microsoft Windows may also be configured to track the “accessed” time of

files. This time records when an application or service last interacts with a

file or folder. When a USB device is attached and files are copied to it,

Windows may update the last accessed time of the files that are copied.

This feature was enabled on Williams’ Alliance laptop.

      50.   Within seconds after the USB drive was connected, beginning

at approximately 12:30 PM and ending at 12:53 PM, a total of 3,712 files

that are stored on Williams’ Alliance laptop, were accessed. The files were

accessed in rapid succession, which is, when considering the attached

external USB drive, indicative that those files and their contents were

copied from Williams’ Alliance laptop to the USB drive.

      51.   I have attached as Exhibit D to this declaration, a listing of the

files that were copied to the external, portable media, as observable from

Defendant Williams’ Alliance-issued laptop. As can be observed in Exhibit

D, the majority of files originated from the following folder on Williams’




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Alliance laptop: “\Users\Clay\Clec\Clec Distribution Shared Data -

Documents\Clay Williams\.”

     52.   On May 24, 2024, Alliance requested that Defendant Williams

provide all electronic storage devices (including USB drives and all other

external storage devices) Defendant Williams used to copy or download

Alliance data, information, documents or communications. (See Alliance’s

Second Set of Requests for Production to John “Clay” Williams, ¶ 46, dated

May 24, 2024 “RFP No. 46”). On June 24, 2024 and October 8, 2024, Mr.

Williams represented in his discovery responses that he “is not in

possession of any items responsive” to the request. (See Def.’s Objections

and Responses to Alliance’s Second Set of Requests for Production to

Trudy Adams, dated June 24, 2024, and as amended on October 8, 2024.)

However, on December 13, 2024, Defendant Williams’ counsel provided a

forensic image of a USB drive, pursuant to Alliance’s request for

production.

     53.   As indicated above, the forensic image represents a SanDisk

Cruzer Glide USB drive, bearing the serial number 03000412082922191623.

This is the same identifying information that was associated with the USB




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drive that was attached to Defendant Williams’ Alliance-issued laptop on

July 10, 2023. (See supra ¶ 48).

       54.    Based upon my analysis of the USB drive, the findings related

to the file copying activity on July 10, 2023 (as observed on Defendant

Williams’ Alliance-issued laptop) are corroborated and confirmed. That is,

the USB drive contains a total of 3,720 files. The vast majority of these files

match those from the “\Users\Clay\Clec\Clec Distribution Shared Data -

Documents\Clay Williams\” folder.8

       55.    The files were copied to the USB drive between approximately

12:31 PM and 12:53 PM (Central Time).

       56.    Moreover, the USB was attached to other, unascertainable

computer(s) on at least four (4) occasions. The dates that the USB drive was

attached to such computers are: July 21, 2023; July 23, 2023; August 11,

2023; and July 17, 2024.9 For each of these dates, the Alliance files existed on

the USB drive (that is, they were copied to the USB on July 10, 2023, prior

to these subsequent connections to unknown computers).


8 Specifically, I compared the hash values of the files on Defendant Williams’ Alliance-

issued laptop with the hash values of the files from the USB drive. A hash value is a
“digital fingerprint” that is unique to a file (and its content). This process identified files
that are exact duplicates.
9 I note that July 17, 2024 was in between Defendant Williams’ Reponses to Alliance’s

Requests for Production.


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      57.   Particularly, on July 21, 2023 and August 11, 2023, the Alliance

files’ were accessed en masse. This is usually indicative that the Alliance

files were copied away from the USB to yet unidentified computers.

      58.   I respectfully reserve the right to supplement or amend this

declaration should additional information be made available, or if

additional details are requested.



I declare under penalty of perjury under the law of the United States that the

foregoing is true and correct.


Executed on: January 10, 2025 in Hennepin County, Minnesota.




                                     ___________________________________
                                     Mark Lanterman




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                               EXHIBIT A
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        Mark Lanterman
        Chief Technology Officer

                               Professional Biography
Office
                               Mark has over 30 years of experience in digital forensics, e-discovery, and has
800 Hennepin Avenue
                               provided education and training to a variety of audiences. Prior to founding
5th Floor
                               Computer Forensic Services in 1998, Mark was a sworn investigator with the
Minneapolis, MN 55403
                               United States Secret Service Electronic Crimes Task Force. Both federal and state
                               court judges have appointed Mark as a neutral computer forensic analyst.
Phone
(952) 924-9220                 Mark was appointed by the Minnesota Supreme Court for two consecutive three-
                               year terms as a member of the Minnesota Lawyers Professional Responsibility
Fax                            Board, during which he also actively contributed to its Rules & Opinion
(952)924-9921                  Committee.

Email                          Mark frequently provides training within the legal community, including
mlanterman@compforensics.com   presentations for the United States Supreme Court, Georgetown Law School, the
                               11th Circuit Federal Judicial Conference, the 8th Circuit Federal Judicial
Web                            Conference, the American Bar Association, the Federal Bar Association, the
www.compforensics.com
                               Sedona Conference, and the Department of Homeland Security, among others.

                               Mark has provided training for federal judiciary members via the Federal
                               Judicial Center in Washington, D.C. Additionally, he serves as faculty at the
                               National Judicial College. Mark is a professor in cybersecurity at the Saint
                               Thomas School of Law. Mark is a member of the Sedona Conference Working
                               Groups 1 and 11, where he is recognized as a “dialogue leader” on the judicial
                               branch’s adoption of Artificial Intelligence. Further, Mark was appointed by the
                               Arizona Supreme Court to its judicial steering committee for the implementation
                               of Artificial Intelligence.

                               Education and Certifications
                               Upsala College – B.S. Computer Science; M.S. Computer Science

                               Harvard University – Cybersecurity

                               Department of Homeland Security – Federal Law Enforcement Training Center
                               Seized Computer Evidence Recovery Specialist

                               National White-Collar Crime Center – Advanced Computer Forensics

                               Publications
                               Co-author of the E-Discovery and Forensic Desk Book

                               Regular columnist for Bench & Bar magazine
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                 Previous Testimony List – Mark Lanterman

   •   State v. Eric Smith, 50-CR-23-2421, (Mower Co., Minn.)
   •   Ranning v. SBS Transportation, Inc. et al., 62-CV-23-400, (Ramsey Co.,
       Minn)
   •   North American Science Associates, LLC v. Conforti, et al., 24-CV-00287
       (D. Minn.)
   •   Plus One, LLC v. Capital Relocation Services LLC, 23-CV-2016, (D. Minn.)
   •   Raymond James & Associates, Inc. et al. v. Piper Sandler et al., 2:23-CV-
       02644 (W.D. Tenn.)
   •   Griffin v. Johnson & Johnson et al., 21-CV-00134, (D. Vermont)
   •   Piper Sandler Companies v. Gonzalez, 23-CV-2281 (D. Minn.)
   •   State v. James Nyonteh, 27-CR-22-5940 (Henn. Co., Minn)
   •   State v. Zhaaboshkang Bush, 04-CR-22-2661 (Beltrami Co., Minn)
   •   Lauren Ellison v. JM Trucking, et al., 2023CI16452 (Bexar Co., Texas)
   •   State v. Gary Otero, 52-CR-23-57 (Nicollet Co., Minn.)
   •   Mayo Foundation for Medical Education & Research v. Knowledge to
       Practice, Inc., 21-CV-1039 (D. Minn.)
   •   Wilbur-Ellis Company LLC v. J.R. Simplot et al. (D. South Dakota)
   •   Universal Power Marketing, et al. v. Sara Rose, 82-CV.20-2812 (Henn.
       Co., Minn.)
   •   TCIC, Inc. v. True North Controls, LLC, et al., 27-CV-22-3774 (Henn. Co.
       Minn.)
   •   MHL Custom, Inc. v. Waydoo USA, Inc, et al., 21-CV-0091 (D. Delaware)
   •   Tumey LLP, et al. v. Mycroft, Inc., et al., 4:21-CV-00113 (W.D. Mo.)
   •   A’layah Le’vaye Horton v. Greenway Equipment Co., Inc. et al., 20MI-
       CV00562 (Miss. Co., Missouri)
   •   In the Marriage of: Beals and Beals, 12-FA-21-235 (Chippewa Co., Minn.)
   •   Warren, et al. v. ACOVA, Inc., et al., 27-CV-18-3944, (Henn. Co., Minn.)
   •   Hagen v. Your Home Improvement, LLC, et al., 73-cv-21-2067, (Sterns Co.
       Minn.)
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